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 12
 13                                    UNITED STATES DISTRICT COURT
 14                                  CENTRAL DISTRICT OF CALIFORNIA
 15
                                                         Master File No. 06-CV-6213 MMM (JCx)
 16    IN RE NORTHROP GRUMMAN
       CORPORATION ERISA                                 JOINT LIST OF DOCUMENTS
 17    LITIGATION.                                       SUBMITTED FOR IN CAMERA
                                                         REVIEW PER THE COURT’S
 18                                                      JUNE 29, 2010 ORDER (DOC. 260)
       THIS DOCUMENT RELATES TO:
 19                                                      Mag. Judge: Hon. Jacqueline Chooljian
       All Actions
 20                                                      Discovery Cut-Off: August 27, 2010
                                                         Final Pretrial Conf.: December 13, 2010
 21                                                      Trial Date: January 11, 2011
 22
 23
 24
 25
 26
 27
 28
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   1            Pursuant to section III(C)(3) of the Court’s June 29, 2010 Order, the parties
   2   hereby submit the following list of documents from Defendants’ revised privilege
   3   logs that will be submitted to the Court for in camera review.
   4   A.       Documents/Communications Regarding the Structure/Design/
                Amendment/Termination of the ERISA Plans in Issue
   5
                Plaintiffs’ Selected Documents
   6
                         1.        Second Privilege Log, Entry 2
   7
                         2.        Third Privilege Log, Entry 88
   8
                                            (Defendants withheld this document as not
   9
                                            responsive/relevant because it concerns 2002 Northrop
 10
                                            Grumman Corporation (“Northrop”) benefits project
 11
                                            budgeting process)
 12
                         3.        Fourth Privilege Log, Entry 94
 13
                                            (Defendants withheld this document because it concerns
 14
                                            both plan changes and other plans not involved in this
 15
                                            case)
 16
                Defendants’ Selected Documents
 17
                         1.        First Privilege Log, Entry 14
 18
                                            (An outside counsel memorandum discussing different
 19
                                            aspects of a proposed plan amendment)
 20
                         2.        Second Privilege Log, Entry 2
 21
                                            (PowerPoint presentation on the plan amendment phase of
 22
                                            a plan governance project)
 23
                         3.        Fourth Privilege Log, Entry 94
 24
                                            (Communication between in-house Northrop counsel on
 25
                                            plan redesign and documentation expenses)
 26
 27
 28
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   1   B.       Documents/Communications Regarding Ongoing Monitoring/Review of
                Investment Options for the ERICA Plans in Issue
   2
                Plaintiffs’ Selected Documents
   3
                         1.        Third Privilege Log, Entry 2
   4
                                            (Defendants withheld this document as not
   5
                                            relevant/responsive because it concerns issues about
   6
                                            possible changes to restrict investments in the company
   7
                                            stock fund).
   8
                         2.        Third Privilege Log, Entry 129
   9
                                            (Defendants withheld this document on the basis of plan
 10
                                            changes/amendments because it concerns proposed plans
 11
                                            changes in investment options)
 12
                         3.        Third Privilege Log, Entry 131
 13
                                            (Defendants withheld this document on the basis of plan
 14
                                            changes/amendments because it concerns proposed plan
 15
                                            changes in investment options)
 16
                Defendants’ Selected Documents
 17
                Applying the Fischel analysis of the fiduciary exception, Defendants have
 18
       not held back any documents on this basis concerning current plan investment
 19
       options. Defendants have withheld the following document concerning a proposed
 20
       plan change for a brokerage window investment option and related questions about
 21
       fiduciary liability:
 22
                         1.        First Privilege Log, Entry 8
 23
 24
 25
 26
 27
 28
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   1   C.       Documents/Communications Regarding the Selection/Retention/Use of
                Third Party Vendors, Including Investment Managers for the ERISA
   2            Plans in Issue
   3            Plaintiffs’ Selected Documents
   4                     1.        First Privilege Log, Entry 4
   5                                        (Defendants withheld this document because it concerns
   6                                        legal advice for the benefit of the fiduciaries on attorney
   7                                        client privilege and the use of consultants)
   8                     2.        Third Privilege Log, Entry 21
   9                                        (Defendants withheld the document as not
 10                                         responsive/relevant because it concerns Sarbanes Oxley
 11                                         issues for senior executive stock)
 12                      3.        Fourth Privilege Log, Entry 103
 13                                         (Defendants withheld this document as advice on
 14                                         company/trustee liability).
 15             Defendants’ Selected Documents
 16             Applying the Fischel analysis of the fiduciary exception, Defendants have
 17    not held back any documents on this basis concerning the plans at issue in this
 18    litigation, but have held back a few documents concerning third party vendors for
 19    other plans, including:
 20                      1.        Fourth Privilege Log, Entry 140
 21                                         (Communication on the Comptek Plan not at issue in this
 22                                         case)
 23    D.       Documents/Communications Regarding Budgets/Costs/Allocation of
                Expenses of the ERISA Plans in Issue
 24
                Plaintiffs’ Selected Documents
 25
                         1.        Third Privilege Log, Entry 45
 26
                                            (Defendants withheld this document as not
 27
                                            responsive/relevant because it relates to budgeting for
 28
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   1                                        payments by the company related to benefit plans and not
   2                                        the budgets for the specific plans at issue in this case,
   3                                        which also involves company/trustee liability)
   4                     2.        Fourth Privilege Log, Entry 107
   5                                        (Defendants withheld this document as advice on
   6                                        company/trustee liability exposure concerning
   7                                        reimbursement of expenses)
   8                     3.        Fourth Privilege Log, Entry 170
   9                                        (Defendants withheld this document as not
 10                                         responsive/relevant because it involves general budgeting
 11                                         not specific to the plans at issue)
 12             Defendants’ Selected Documents
 13             Applying the Fischel analysis of the fiduciary exception, Defendants have
 14    not held back documents on this basis concerning benefit plan budgets, costs and
 15    expenses, but have held back documents concerning the budget process and
 16    expenses of the Northrop law department, including:
 17                      1.        Third Privilege Log, Entry 82
 18                                         (Outside counsel input on general budget)
 19                      2.        Fourth Privilege Log, Entry 182
 20                                         (Communication from Northrop in-house counsel
 21                                         regarding attached corporate legal budget document)
 22                      3.        Fourth Privilege Log, Entry 184
 23                                         (Communication between Northrop in-house counsel
 24                                         regarding outside counsel expenses and other budgeted
 25                                         expenses)
 26
 27
 28
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   1   E.       Communications/Drafts of Communications to Participants of the
                ERISA Plans in Issue
   2
                Plaintiffs’ Selected Documents
   3
                         1.        Third Privilege Log, Entry 16
   4
                                            (Defendants withheld this document as not
   5
                                            relevant/responsive because it concerns Sarbanes Oxley
   6
                                            and executive compensation issues)
   7
                         2.        Third Privilege Log, Entry 94
   8
                                            (Defendants withheld this document because it concerns
   9
                                            plan changes/amendments).
 10
                         3.        Third Privilege Log, Entry 127
 11
                                            (Defendants withheld this document because it concerns
 12
                                            plan changes/amendments)
 13
                Defendants’ Selected Documents
 14
                Applying the Fischel analysis of the fiduciary exception, Defendants have
 15
       not held back any documents on this basis.
 16
       F.       Documents/Communications Regarding Company/Trustee/ Fiduciary
 17             Liability
 18             Plaintiffs’ Selected Documents
 19             Plaintiffs view these documents to fall within other categories, however,
 20    Plaintiffs have selected documents which Plaintiffs believe Defendants view to fall
 21    within this category based on Defendants’ privilege log.
 22                      1.        Third Privilege Log, Entry 52
 23                      2.        Fourth Privilege Log, Entry 36
 24                      3.        Fourth Privilege Log, Entry 106
 25             Defendants’ Selected Documents
 26             The following documents which defendants have selected for in camera
 27    review concern ERISA Section 404(c) compliance or status (Section 404(c) is an
 28
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   1   ERISA provision about participant control of plan assets that provides a statutory
   2   “safe harbor” defense to breach of fiduciary claims):
   3                     1.        First Privilege Log, Entry 9
   4                                        (An outside counsel opinion on 404(c) status)
   5                     2.        Third Privilege Log, Entry 136
   6                                        (Communication from Northrop Grumman in-house
   7                                        counsel concerning plan sponsor 404(c) protection)
   8                     3.        Fourth Privilege Log, Entry 36
   9                                        (Outside counsel memorandum on “best practices”
 10                                         recommended by Hewitt consulting firm for 404(c)
 11                                         compliance)
 12    G.       Documents/Communications Regarding Inquiries/Complaints/Claims
                from Specific Participant to the ERISA Plans in Issue
 13
                Plaintiffs’ Selected Documents
 14
                Plaintiffs view these documents to fall within other categories, however,
 15
       Plaintiffs have selected documents which Plaintiffs believe Defendants view to fall
 16
       within this category based on Defendants’ privilege log.
 17
                         1.        Third Privilege Log, Entry 95
 18
                                            (Defendants have withheld this document on the basis that
 19
                                            it concerns both plan changes and specific participant
 20
                                            claims)
 21
                         2.        Third Privilege Log, Entry 148
 22
                         3.        Third Privilege Log, Entry 150
 23
                Defendants’ Selected Documents
 24
                In addition those documents designated by plaintiffs, defendants have
 25
       withheld the following two documents concerning specific participants:
 26
                         1.        Third Privilege Log, Entry 93
 27
                                    (Communication regarding an individual loan repayment issue)
 28
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   1                     2.        Third Privilege Log, Entry 150
   2                                        (Communication regarding a message from an individual
   3                                        plan participant about supposedly illegal responses to
   4                                        “market timing” and related internal memos)
   5   H.       Documents/Communications As to Which the Logs are Assertedly Vague
   6            Plaintiffs’ Selected Documents
   7                     1.        Third Privilege Log, Entry 84
   8                                        (Defendants have withheld this document as not
   9                                        responsive/relevant and described it as concerning the
 10                                         2002 legal work budget)
 11                      2.        Third Privilege Log, Entry 133
 12                                         (Defendants have withheld this document as not
 13                                         responsive /relevant and described it as concerning the
 14                                         legal services budget)
 15                      3.        Fourth Privilege Log, Entry 209
 16                                         (Defendants have held back this document as related to
 17                                         another plan, described as the Northrop 401(k) plan; this
 18                                         document specifically concerns possible plan changes in
 19                                         investment options, which is a privileged subject not
 20                                         covered by the fiduciary exception).
 21             Defendants’ Selected Documents
 22             Plaintiffs’ assertions that defendants’ privilege log descriptions are “vague”
 23    are arguments about defendants’ wording of document descriptions, rather than
 24    about the content of the documents. Plaintiffs have made their “vague” argument
 25    about more than 150 documents in plaintiffs’ “updated challenges,” including the
 26    following documents for which defendants quote below from the document
 27    description in their revised privilege logs and submit the three described documents
 28    for in camera review:
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   1                     1.        First Privilege Log, Entry 9
   2                                        (Described as a “legal opinion … regarding reducing
   3                                        potential fiduciary liability exposure”)
   4                     2.        Third Privilege Log, Entry 57
   5                                        (Described as a communication from legal counsel
   6                                        providing a legal opinion on “administrative committee
   7                                        authority with respect to plan amendments/changes”)
   8                     3.        Fourth Privilege Log, Entry 99
   9                                        (Described as communication discussing “options for
 10                                         structuring fiduciary oversight of plan expense approval
 11                                         process”)
 12    I.       Documents/Communications Which Defendants Assert are Non-
                Responsive, Not Relevant and/or Relate to Plans Other Than the Plans in
 13             Issue
 14             Plaintiffs’ Selected Documents
 15             Plaintiffs view these documents to fall within other categories, however,
 16    Plaintiffs have selected documents which Plaintiffs believe Defendants view to fall
 17    within this category based on Defendants’ privilege log.
 18                      1.        Fourth Privilege Log, Entry 174
 19                      2.        Fourth Privilege Log, Entry 199
 20                      3.        Fourth Privilege Log, Entry 219 (Court should focus on the
 21                      redacted portion of the document)
 22                                         (Defendants have agreed to produce the portion of this
 23                                         document related to the plans at issue in this case and
 24                                         redacted the portions about other plans; defendants will
 25                                         submit the unredacted document for in camera
 26                                         inspection).
 27
 28
       Joint List of Documents Submitted for In Camera
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   1            Defendants’ Selected Documents
   2            Defendants have withheld from production documents about the 2002 project
   3   budgeting process at Northrop and about the operation of other Northrop benefit
   4   plans that are not the subject of this litigation. The following three examples are
   5   submitted for in camera review:
   6                     1.           Third Privilege Log, Entry 88
   7                                        (Communication from outside counsel on 2002 law
   8                                        department project budgeting)
   9                     2.           Third Privilege Log, Entry 142
  10                                        (Memorandum regarding upcoming Investment
  11                                        Committee discussion of “heritage plans” maintained by
  12                                        Northrop that encloses memo from outside counsel)
  13                     3.           Fourth Privilege Log, Entry 191
  14                                        (PowerPoint presentation on Northrop’s outside counsel
  15                                        selection process and “preferred provider initiative”)
  16
       Dated:        July 9, 2010                          McDERMOTT WILL & EMERY LLP
  17                                                       Nancy G. Ross
                                                           Chris C. Scheithauer
  18                                                       John A. Litwinski
  19
                                                           By: /s/ Chris C. Scheithauer
  20                                                          Chris C. Scheithauer
  21                                                           Attorneys for Defendants
  22   Dated:        July 9, 2010                          SCHLICHTER, BOGARD & DENTON
                                                           Jerome J. Schlichter
  23                                                       Nelson G. Wolff
                                                           Jason P. Kelly
  24
  25                                                       By: /s/ Jason P. Kelly
  26                                                          Jason P. Kelly

  27                                                           Attorneys for Plaintiffs
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  28
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